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                                                  Exhibit A


               A                       B                      C           D
                                  Originating                            MDL
             Case                                           Case#
1                                    Court                             Member #
  Arnold, Tabatha & David
2 Davis, Ethel                  USDC, Louisiana       2:12-cv-01819   2:12-cv-03969

  Bartley, Sharon & Larry D.
  Champion, Shirley &
  Marble
  Davidson, Nelli & Grant
  Decker, Mable
  Lineske, Katrina & Harold
  Shelton, Taira
  Smith, Donna
  Smith, Shirley
  Woltman, Frances &
3 James                         USDC, Kentucky        4:12-cv-00083   2:12-cv-04270
  Bates, Dana & Charles
  Sandra & Gerald Foster
  Shari Tackett
4 Cathy McCoy                   USDC, Tennessee       1:12-cv-00067   2:12-cv-03939
  Benz, Christine
  Bourque, Suzette &
  Raymond
5 Citrano, Elaine               USDC, Louisiana       6:12-cv-01884   2:12-cv-04097

  Birchfield, Sheila & Dennis
  Bolton, Leah & Daniel
  Fleming, Rae
  Robinson, Martha
  Stanley, Peggy Jean &
6 Ralph                         USDC, Tennessee       2:12-cv-00288   2:12-cv-05053
  Bird, Gladys
  Brock, Irene & Charlie
  Farmer, Candy
  Furr, Donna
  Gayle, Molly & Harry
  Highfield, Jean
  Phillips, Suzann J.
  Snelling, Thelma & David
  Wayne
7 Wynn, Shirley & Johnny        USDC, Kentucky        6:12-cv-00143   2:12-cv-03869

  Dano, Autumn & Larry
  Kathy Dunlap
  Rosamond North
  Shirley & Terry Vernon Sr.
  Cathy & James Wooten
  Barbara Scechinger-Evans
  & Michael Evans
  Aggie & Rubert Laughery
8 Beth Durham                   USDC, Tennessee       3:12-cv-00696   2:12-cv-04100




                                                   1 of 2
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                                                Exhibit A


               A                     B                      C           D
                                Originating                            MDL
             Case                                         Case#
1                                  Court                             Member #
   Gross, Theresa
   Hefferman, Joyce
   Leal, Leigh & Norberto
   Daniel
   Norman, Yolanda
 9 Tatum, Shelli              USDC, Tennessee       1:12-cv-01157   2:12-cv-03842
   James, LaJoyce
   Morris, Rebecca & Randy,
   Sr.
10 Long, Teresa               USDC, Louisiana       5:12-cv-01882   2:12-cv-04096

   Melton, Rebecca & Arthur
11 Roger, Samantha            USDC, Louisiana       2:12-cv-01886   2:12-cv-04094

   Sparkman, Sheridian
12 Sheryl & Holbrook, Rhonda USDC, Kentucky         5:12-cv-00251   2:12-cv-04671
   Thornton, Betty
   Countiss, Dorothy
   Adkins, Wanda
   Arney, Tiffany
   Arnold, Terry & Clint
   Beeler, Lisa & Jerry
   Caldwell, Conchita &
   Robert
   Edwards, Emma
   Johnson, Teresa
   Jowers, Leslie & Ronnie
   Lee, Rebecca
   Loveday, Edna
   Mitchell, Angela
13 Davis, Linda & David      USDC, Tennessee         3:12-cv-337    2:12-cv-05115




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